           Case: 1:21-cr-00316 Document #: 64-15 Filed: 02/04/22 Page 1 of 1 PageID #:360




From:                                  Concerned Citizen <cconcerned703@gmail.com>
Sent:                                  Thursday, October 1, 2020 3:52 AM
To:
Subject:                               [EXTjRe: Concern. Please help.




I see that nothing has been done about this girl. In fact, it appears her lease has been renewed. This is very upsetting
to me and others. Within the next few days, I will be informing other tenants of this situation. Hopefully when the
entire community reaches out to you to express their concerns, you will finally take action.

Sincerely,
Concerned Tenant



On Thu, Jul16, 2020 at 3:20 AM Concerned Citizen <cconcerned703@gmail.com>           wrote:
Hello. I am one of your tenants. I am writing to you today representing a group of your tenants all with the same
concern.    We have all chosen to stay anonymous for our own safety. You have a tenant at                     I believe
it's apartment       parking bay     . Her name is


This girl is an active prostitute.   Here is proof:

She has a constant parade of men coming in and out of the apartment. Not to be racist, but many of them black, who
clearly look like pimps and gangbangers. They are scary people. They come in at night drunk and make a ruckus. She
turns her music up super high. This is not the kind of environment we want to live in nor is it one we want to raise kids
in. You will find many people not renewing their lease, unless she is removed from the community.

 Please do something about this.

Thank you.
Concerned tenants.




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